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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                  8/25/2020


  United States,

                   –v–
                                                                                 18-cr-224 (AJN)
  Bahram Karimi.
                                                                                     ORDER
                         Defendant.




ALISON J. NATHAN, District Judge:

       On June 5, 2020, the Government submitted an “application for an order of nolle

prosequi of the Indictment[] filed in this case against Ali Sadr Hashemi Nejadin (‘Sadr’) and

Bahram Karimi.” Dkt. No. 348. Mr. Sadr’s subsequently requested that the Court first grant his

motion to vacate the verdict against him under Federal Rule of Criminal Procedure 33 and only

then dismiss the indictment, with prejudice, under Rule 48. Dkt. No. 349. The Government

eventually consented to this request. Dkt. No. 381. The Court thus “construed” the

Government’s “application for an order of nolle prosequi . . . as a motion to dismiss with

prejudice under Federal Rule of Criminal Procedure 48(a)” and granted both motions, vacating

the verdict against Mr. Sadr under Rule 33 and dismissing the indictment against Mr. Sadr with

prejudice under Rule 48. Dkt. No. 362.

       The Government’s application for a nolle prosequi against Mr. Karimi, however, remains

pending. No later than September 1, 2020, the Government is ordered to inform the Court

whether it seeks dismissal of the indictment against Mr. Karimi under Federal Rule of Criminal

Procedure 48(a). The Government shall indicate whether it seeks dismissal with or without
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prejudice, and provide justification for its request. The Government should further submit a

proposed order for the Court’s review.



       SO ORDERED.

 Dated: August 24, 2020
        New York, New York                      ____________________________________
                                                          ALISON J. NATHAN
                                                        United States District Judge
